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                      IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH

  UNITED STATES OF AMERICA,                    Case No. 2:22mj439-DAO

         Plaintiff,                            COMPLAINT

         vs.                                   COUNT 1: Felon in Possession of a
                                               Firearm (18 U.S.C. § 922(g)(1))
  JAMES BRENNER,
                                               Magistrate Judge Daphne A. Oberg
         Defendant.


       Before Daphne A. Oberg, United States Magistrate Judge for the District of Utah,

appears the undersigned, who on oath deposes and says:

                                       COUNT 1
                                 18 U.S.C. § 922(g)(1)
                           (Felon in Possession of a Firearm)

       On or about June 8, 2022, in the District of Utah,

                                   JAMES BRENNER,

defendant herein, knowing he had been convicted of a crime punishable by a term of

imprisonment exceeding one year, did knowingly possess a firearm, to wit: a .22 caliber

Winchester rifle, and the firearm was in and affecting commerce; all in violation of 18

U.S.C. § 922(g)(1).
    AFFIDAVIT IN SUPPORT OF COMPLAINT AND ARREST WARRANT

      Complainant, Jeremiah W. Fowlke, being duly sworn, hereby states that this

Felony Complaint is based on information obtained through an investigation consisting of

the following:

                                      AFFIDAVIT

   1. Your affiant is a Special Agent with the Federal Bureau of Investigation currently

      assigned to the Violent Crimes Task Force in the Salt Lake City field office. The

      information contained in this complaint is based on an investigation I conducted

      along with other Special Agents of the FBI and investigators from the Box Elder

      County Sheriff’s Office (BECSO).

   2. On May 30, 2022, Box Elder County dispatch received a call of a missing 19-year-

      old male initials D.R. He was last seen in Lucin, Utah area. On this day, D.R.

      contacted a relative by phone and told them that he was “putting the grain truck

      into shelter.” The shelter for the grain truck was reported to be on a parcel of land

      owned by Box Elder Land and Livestock (owner initials J.C.) and is adjacent to

      two other parcels that are owned by S.H. and R.I. These parcels are open to each

      other and collectively used together.

   3. The subject in this case, an adult male named James Brenner (Brenner) has no

      ownership in the land parcels mentioned above and is “squatting” in a trailer
   located on the land. The missing 19-year-old male D.R.’s property is a 5 mile walk

   towards the southeast of where Brenner was currently living. Brenner and another

   Lucin resident, D.H., were considered “family friends” of D.R. and his family. In

   searching for the missing 19-year-old male, Brenner was interviewed by BECSO

   on June 7, 2022. D.H. was also subsequently interviewed by law enforcement.

4. On or about June 11, 2022, Box Elder County in their search for the missing 19-

   year-old male D.R., requested assistance from the Federal Bureau of Investigation

   (FBI) and the Davis County Sheriff’s office.

5. On June 16, 2022, BECSO, with the assistance of the FBI, executed a search

   warrant at the trailer where Brenner was living. During that search, ball

   ammunition, ignition caps, black powder, and speed loads, all related to “muzzle

   loading” were located and photographed in the trailer, but the items were not

   seized at this time by BECSO. There were no muzzle loader firearms located in

   the trailer at that time.

6. On June 20, 2022, a friend and neighbor of Brenner, D.H. was interviewed by

   BECSO and the FBI. During that interview, D.H. advised that after D.R. went

   missing, and sometime after Brenner’s initial June 7, 2022, interview with

   BECSO, Brenner brought three black powder guns over to D.H.’s residence and

   asked him to “safekeep” them. When D.H. asked “why,” Brenner stated that he

   needed to do this for “his own safety” and that “the last time he had trouble with

   the law they took everything from him, and he did not want the things he had left

   to be taken again.” D.H. agreed to store the muzzle loaders for him. At the time of
   the interview D.H, turned over the three muzzle loaders to BECSO who booked

   them into evidence.

7. On June 21, 2022, D.H. was again interviewed by the FBI. During this interview,

   D.H. advised that Brenner had also brought him a .22 caliber rifle around the same

   time he had brought over the muzzle loaders. D.H. told us that he didn’t mention

   the .22 rifle when interviewed before because he had been owed money by the

   rifle’s original owner and that he felt that he should have a claim over the .22 rifle

   that Brenner asked him to store, to cover the debt. He explained to us that the rifle

   had been left in a trailer on the property where Brenner had been living, prior to

   Brenner living there, by a person who owed D.H. money. Brenner upon moving

   into the trailer had taken possession of it. D.H. knew that Brenner wasn’t allowed

   to have firearms because of his criminal history. D.H. turned over to the FBI the

   .22 rifle and case that Brenner had personally handed to him and had asked him to

   store. The rifle was loaded with 5 rounds of .22 caliber ammunition.

8. The .22 caliber rifle is a Winchester Model 69, 22 S.L.ORL. On the rifle it says

   “Made in New Haven Conn.” No serial number was located.

9. On June 21, 2022, another search warrant was conducted at the trailer where

   Brenner was currently living. During this warrant, BECSO seized a muzzle loader,

   one box of .45 lead round ball ammunition, one box of Spear .570 lead ball, one

   box of Federal .45 lead ball ammunition, ignition caps, 4 pounds of Hornady black

   powder, and speed loads and booked them into evidence.
   10. On May 21, 2012, James Brenner was sentenced to 33 months in prison for a

      conviction of felon in possession of a firearm. Brenner also has additional felony

      convictions on his criminal history.

   Based on the foregoing information, your affiant respectfully requests that an arrest

   warrant be issued for James Brenner for a violation of 18 U.S.C Section 922(g).


DATED this ____ day of June 2022.                  JEREMIAH FOWLKE   Digitally signed by JEREMIAH FOWLKE
                                                                     Date: 2022.06.24 14:11:54 -06'00'


                                                __/s/ Jeremiah Fowlke____________
                                                JEREMIAH W. FOWLKE
                                                S.A. FBI, Violent Crimes Task Force




SUBSCRIBED AND SWORN to before me, this 29th day of June 2022.


                                                __________________________
                                                HONORABLE DAPHNE A. OBERG
                                                United States Magistrate Judge


APPROVED AS TO FORM:

TRINA A. HIGGINS
United States Attorney

/s/ Kevin L. Sundwall
______________________
KEVIN L. SUNDWALL
Assistant United States Attorney
